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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. CASE NO.: 1:22-cr-00338

GRAY, LESLIE
Defendant

 

ENTRY OF APPEARANCE
Dennis A. O’Brien, Jr., lead and trial counsel, hereby enters his appearance as counsel of record

for the above styled Defendant and requests that all court notices, calendars, etc., in the above

captioned case be sent to him.

This 238? day of May, 2023.

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cm fe
Dennis A. O’Brien, Jr.

State Bar No. 548495
Attorney for the Defendant
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